 Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 1 of 23 PageID: 1



MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
1300 Mount Kemble Avenue
P.O. Box 2075
Morristown, New Jersey 07962
(973) 993-8100
Attorneys for Defendants

                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


CECILE HAHN,

                               Plaintiff,        Civil Action No.
                     v.
                                                          NOTICE OF REMOVAL
THE REALREAL, INC. and JULIE
WAINWRIGHT,

                               Defendants.


To:             Clerk of District Court
                United States District Court
                District of New Jersey
                Martin Luther King, Jr. Building & U.S. Courthouse
                50 Walnut Street
                Newark, New Jersey 07101

On Notice to:   Clerk
                Superior Court of New Jersey
                Law Division - Bergen County
                Bergen County Justice Center
                10 Main Street
                Hackensack, New Jersey 07601

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

Defendants The RealReal, Inc. (“TRR”) and Julie Wainwright (“Wainwright”) (collectively,

“Defendants”), by their undersigned attorneys, hereby remove this action entitled Cecile Hahn v.

The RealReal, Inc. and Julue Wainwright, Docket Number: BER-L-1536-18, from the Superior

Court of New Jersey, Law Division, Bergen County, to this Court. In support of removal,

Defendants state as follows:
 Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 2 of 23 PageID: 2



         1.    Upon information and belief, this action was filed on or about February 28, 2018,

in the Superior Court of New Jersey, Law Division, Bergen County. A Summons and Complaint

were first served upon Defendants on March 6, 2018. Attached hereto as Exhibit A is a true and

accurate copy of the Summons and Complaint that were served, together with a Track

Assignment Notice, Civil Case Information Sheet, Interrogatories to Defendants, Notice to

Produce Documents and Things to Defendants, and Notice to Take Oral Deposition. The

documents attached as Exhibit A constitute all of the process, pleadings, and orders served upon

Defendants in this action. There are no pending hearings or motions.

         2.    This Notice of Removal is being filed within thirty (30) days of the first service

on Defendants of the Summons and Complaint pursuant to 28 U.S.C. 1446(b)(1).

         3.    This civil action is one over which this Court has original jurisdiction under 28

U.S.C § 1132(a) and is one that may be removed to this Court by Defendants pursuant to 28

U.S.C § 1441(a), in that it is a suit constituting a dispute between citizens of different states and

the matter in controversy exceeds the sum of the value of $75,000, exclusive of interest and

costs.

         4.    Upon information and belief, Plaintiff is, and at all relevant times has been, a

resident and domiciliary of Dumont, New Jersey. (Compl. ¶ 1).

         5.    Defendant TRR is, and at all relevant times has been, a corporation organized and

existing pursuant to the laws of the State of Delaware, with its principal place of business in San

Francisco, California. Therefore, pursuant to 28 U.S.C § 1132(c)(1), TRR is a citizen of the

State of California for purposes of diversity jurisdiction and removal.

         6.    Defendant Wainwright is, and at all relevant times has been, a resident of

Belvedere, California.



                                                 2
 Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 3 of 23 PageID: 3



       7.      Thus, the citizenship of all parties is diverse as defined under 28 U.S.C § 1132(a)

in that Defendant TRR is deemed to be a citizen of the State of California and Delaware,

Defendant Wainwright is deemed to be a citizen of the State of California, and Plaintiff is

deemed to be a citizen of the State of New Jersey.

       8.      The Complaint alleged, inter alia, that Defendants unlawfully discriminated

against Plaintiff based on her age in violation of the New Jersey law Against Discrimination,

N.J.S.A. 10:5-1, et seq. (“NJLAD”). (Compl. ¶¶ 17-28).

       9.      Plaintiff seeks the following relief in the Complaint: compensatory damages,

punitive damages, and attorneys’ fees.

       10.     Although the Complaint does not specify the actual amount of damages Plaintiff

seeks, it cannot be disputed that Plaintiff is seeking damages in excess of $75,000, exclusive of

interest and costs.

       11.     Plaintiff’s request for damages includes, “back pay, front pay, and emotional

distress.” (Compl. ¶¶ 22, 28). Based on the allegations, and given that Plaintiff’s employment

was terminated approximately nine months ago in or about June 2017 (Compl. ¶ 5), Plaintiff

seeks compensatory damages, punitive damages, and attorneys’ fees in excess of $75,000.

       12.     Removal jurisdiction, therefore, exists under 28 U.S.C. §§ 1441 (a) and (b).

       13.     Venue for removal is proper in the United States District Court for the District of

New Jersey because the state-court action was filed in this district. 28 U.S.C. § 1441(a).

       14.     A copy of this Notice of Removal will be filed with the Clerk of the Superior

Court of New Jersey, Law Division, Bergen County and served upon Plaintiff’s in accordance

with 28 U.S.C. § 1446(d).




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 Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 4 of 23 PageID: 4



       15.     By effecting removal of this civil action, Defendants reserve all rights to raise any

and all defenses available under the Federal Rules of Civil Procedures, including, but not limited

to, Federal Rule of Civil Procedure 12.

       16.     By effecting removal of this action, Defendants do not admit any of the

allegations made in the Complaint.

       WHEREFORE, Defendants respectfully submit that this case proceed in the United

States District Court for the District of New Jersey as an action timely and properly removed.


                                                 MCELROY, DEUTSCH, MULVANEY
                                                 & CARPENTER, LLP
                                                 Attorneys for Defendants




                                                 By:         s/ James E. Patterson
Dated: March 30, 2018                                        James E. Patterson




                                                 4
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 5 of 23 PageID: 5




      EXHIBIT A
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 6 of 23 PageID: 6

                                                                         Service of Process
                                                                         Transmittal
                                                                         03/06/2018
                                                                         CT Log Number 532914815
 TO:     Sarah Gomez
         THE REALREAL, INC.
         55 Francisco St Ste 600
         San Francisco, CA 94133-2115

 RE:     Process Served in New Jersey

 FOR:    THE REALREAL, INC. (Domestic State: DE)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                 CECILE HAHN, Pltf. vs. THE REALREAL, INC. and JULIE WAINWRIGHT, Dfts.
 DOCUMENT(S) SERVED:              Summons, Complaint, Attachment(s), Notice(s)
 COURT/AGENCY:                    Bergen County Superior Court - Law Division, NJ
                                  Case # BERL153618
 NATURE OF ACTION:                Employee Litigation - Discrimination
 ON WHOM PROCESS WAS SERVED:      NATIONAL REGISTERED AGENTS, INC. OF NJ, West Trenton, NJ
 DATE AND HOUR OF SERVICE:        By Process Server on 03/06/2018 at 13:25
 JURISDICTION SERVED :            New Jersey
 APPEARANCE OR ANSWER DUE:        Within 35 days from the date of receipt, not counting the day of receipt
 ATTORNEY(S) / SENDER(S):         Paul Castronovo
                                  Castronovo & McKinney, LLC
                                  71 Maple Avenue
                                  Morristown, NJ 07960
                                  973-920-7888
 ACTION ITEMS:                    SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780132297678

                                  Image SOP

                                  Email Notification, Sarah Gomez sarah.gomez@therealreal.com

                                  Email Notification, DANA DUFRANE DANA.DUFRANE@THEREALREAL.COM

 SIGNED:                          NATIONAL REGISTERED AGENTS, INC. OF NJ
 ADDRESS:                         820 Bear Tavern Road
                                  3rd Floor
                                  West Trenton, NJ 08628
 TELEPHONE:                       609-538-1818




                                                                         Page 1 of 1 / DS
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
 Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 7 of 23 PageID: 7



                                                         SUMMONS

Attorney(s) Paul Castronovo (0 15651999)
                                                                                   Superior Court of
Office Address 71 Maple Ave.
Town, State, Zip Code Morristown, NJ 07960
                                                                                     New Jersey
                                                                                  Bergen          E1ounty
Telephone Number 973-920-7888                                                     Law                Division
Attorney(s) for Plaintiff Cecile Hahn                                      Docket No: •BER.-L-1536-18.
CECILE HAHN'


         Plaintiff(s)
                                                                                    CIVIL ACTION
   VS.                                                                                SUMMONS
THE REALgEAL, INC. and
JULIE WAINWRIGHT
       Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The'plaintiff,,named above, has filed a lawsuit against you in the Superior. Court of New Jersey. The complaint attached
to this summons states the basis      this la            -di'       is complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35. days
from the date you received this summons, not counting the date, you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.nocourtg.aov/fornis/10153_dcetyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971', Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiffs attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or-motion Within 35 daysi the court may enter a judgment-against you for
the relief plaintiff demands, plus interest and costs of suit. Ifjudgment is entered against you, the Sheriff inayseize your
money, wages or property to pay all or part of the judgment.

      If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at I-888-LSNJ-LAW (1488-576-5529). If you do not have an attornoyand are
not eligiblefór free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
ht!R.://www.nicourts.Lov/forfns/ 10153 dep!nler_khwtyEydf.
                               -


                                                                         Clerk of the Superior Court


DATED: 03/0312018
Name of Defendant to Be Served: The RealReal, Inc. (National Registered Agents of NJ, inc.')
Address of Defendant to Be Served: 820 Bear Tavern Road, West Trenton, NJ 08628



Revised 11/1712014, CN 10792-:English (Appendix X11-A)
 Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 8 of 23 PageID: 8



Paul Castronovo (Attorney ID #015651999)
CASTRONOVO & McKINNEY, LLC
71. Maple Avenue
Morristown, NJ 07960
(973) 920-7888
Attorneys for Plaintiff
Cecile Hahn

                                                 SUPERIOR COURT OF NEW JERSEY
 CECILE HAHN,                                    LAW DIVISION BERGEN COUNTY
                                                                   -




                                 Plaintiff,      DOCKET NO:

                                                                    Civil Action

 THE REALREAL, INC. and JULIE                         COMPLAINT AND JURY DEMAND
 WAINWRIGHT,

                                 Defendants.

          Plaintiff, Cecile Hahn ("Plaintiff'), through her attorneys, Castronovo & McKinney, LLC,

files this Complaint and Jury Demand seeking compensatory damages, punitive damages,

attorneys' fees, and costs of suit from Defendants, The RealReal, Inc. ("Defendant TRR") and

Julie Wainwright ("Defendant Wainwright") (collectively, "Defendants"), and alleges as follows:

                                               FACTS

A.        Jurisdiction and Venue

                 Plaintiff resides at 510 Prospect Avenue, Dumont, Bergen County, New Jersey.

                 Defendant TRR employed Plaintiff at 35 Enterprise Avenue North, Secaucus, New

Jersey.

                 Defendant TRR is a private corporation with its principal place of business located

at 55 Francisco Street, San Francisco, California.

                 Defendant Wainwright is an individual residing at 126 Madrona Avenue,

Belvedere, California.
 Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 9 of 23 PageID: 9



B..    Plaintiff's Employment

                 Defendant TRR employed Plaintiff from July 2015 until June 22, 2017.

                 Defendant TRR hired Plaintiff as a full-time contract recruiter.

       T.        In November 2015, Defendant TRR promoted Plaintiff to Human Resources

Manager for its Secaucus warehouse.

                 In February 2016, Defendant TRR gave Plaintiff additional responsibilities to

support the Secaucus facility and field sales.

                 Beth Taska, Senior Vice President of Human Resources for Defendant TRR,

informed Plaintiff on June 22, 2017 that Defendant TRR terminated her employment because

Plaintiff's position had been eliminated.

                 Plaintiff was born on November 7, 1969.

             .   Defendant TRR assigned many of Plaintiff's job responsibilities to Brianna Egorow

who is approximately 25-30 years old.

C.     CEO Wainwright's Discriminatory Comments

                 Defendant Wainwright is Defendant TRR's founder and Chief Executive Officer.

                 In May or June 2016, Defendant Wainwright told Jean Barbagelata (Vice President

of People, and Places from approximately May 2015 through July 2017) that Defendant

Wainwright did not want Defendant TRR to hire or employ "middle aged frumpy women,"

especially in "outward facing roles" such as Human Resources.

             .   Defendant Wainwright continued to tell Ms. Barbagelata in that discussion that

Defendant Wainwright wanted only "fresh young faces" in "outward facing roles" at Defendant




                                                  2
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 10 of 23 PageID: 10



                In this discussion about not wanting to hire or keep "middle aged frumpy women"

as employees, Defendant Wainwright identified Plaintiff as an employee who did not fit the image

that Defendant TRR wanted to portray because, in her opinion, Plaintiff's clothes were "frumpy"

and "don't fit."

               •Defendant Wainwright has terminated the employment of several employees whom

did not directly report to her.

                                               COUNT I

                                   LAD Age Discrimination
                                           -




                Plaintiff repeats and incorporates the facts alleged in the preceding paragraphs.

                At all times, Plaintiff performed her job at a level that met Defendant TRR's

legitimate expectations.

                Despite Plaintiff's satisfactory job performance, Defendant TRR terminated

Plaintiff's, employment due to an alleged position elimination.

                Defendant TRR's articulated reason for terminating Plaintiff's employment is a

pretext for discrimination on the basis of Plaintiff's age that violates the Law Against

Discrimination, N.J.S.A. 10:5-1, et seq.

                Defendant TRR's conduct was especially egregious and done with the knowledge

or participation of upper-level management, including Defendant Wainwright, among other senior

managers.

                As a result of Defendant TRR's wrongful conduct, Plaintiff has suffered, and

continues to suffer, damages including: back pay, front pay, and emotional distress.




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Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 11 of 23 PageID: 11



                                            COUNT II

                         Individual Liability   -   Defendant Wainwright

               Plaintiff repeats. and incorporates the facts alleged in the preceding paragraphs.

               Defendant Wainwright served as the founder and Chief Executive Officer of

Defendant TRR during the above discrimination against Plaintiff,

               Defendant Wainwright made, or substantially assisted and/or encouraged, the

decision to terminate Plaintiff's employment.

       2.      Defendant Wainwright's conduct violates the Law Against Discrimination,

N.J.S.A. 10:5-1, etseq. because she deprived Plaintiff of employment due to Plaintiff's age.

       27..    Defendant Wainwright is individually liable for the unlawful discrimination against

Plaintiff in violation of the Law Against Discrimination, N.J.S.A. 10:5-12(e).

       28.     As a result of Defendant Wainwright's wrongful conduct, Plaintiff has suffered,

and continues to suffer, damages including: back pay, front pay, and emotional distress.

       WHEREFORE, Plaintiff seeks judgment against Defendants awarding her compensatory

damages, punitive damages, attorneys' fees, costs of suit, pre- and post-judgment interest, and all

other relief that the Court deems equitable and just.

                                                        CASTRONOVO & McKINNEY, LLC



Dated: February 28, 2018                                By:
                                                              Paul Castronovo
                                                              Attorneys for Plaintiff




                                                    4
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 12 of 23 PageID: 12



                                DEMAND FOR TRIAL BY JURY

        Plaintiff demands a trial by jury on all issues so triable.

                                                        CASTRONOVO & McKINNEY, LLC

                                                                 pec
Dated: February 28, 2018                                By:________________
                                                              Paul Castronovo

                             DESIGNATION OF TRIAL COUNSEL

        Plaintiff designates Paul Castronovo as trial counsel in this action.

                                                        CASTRONOVO & McKINNEY, LLC


                                                                 P-e C*----O~
Dated: February 28, 2018
                                                                Paul Castronovo

       •   •
                    •             RULE 4:5-1 CERTIFICATION

        I hereby certify that this matter is not the subject of any other pending civil action or

arbitration proceeding. I further certify that I know of no other parties who should be joined in

this litigation at the present time.

                                                        CASTRONOVO & McKINNEY, LLC



Dated: February 28, 2018
                                                                  R-e C*--,-~
                                                                Paul Castronovo




                                                   5
 Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 13 of 23 PageID: 13




                        Civil Case Information Statement
rC       Details; BERGEN I Civil Part Docket# L-001536-18

Case Caption: HAHN CECILE VS THE REALREAL, INC.                  Case Type: LAW AGAINST DISCRIMINATION (LAD) CASES
Case Initiation Date: 02/28/2018                                 Document Type: Complaint with Jury Demand
Attorney Name: PAUL R. CASTRONOVO                                Jury Demand: YES -6 JURORS
Firm Name: CASTRONOVO & MCKINNEY,LLC                             Hurricane Sandy related? NO
Address: 71 MAPLE AVE                                            Is this a professional malpractice case? NO
MORRISTOWN NJ 079600000                                          Related cases pending: NO
Phone:                                                           If yes, list docket numbers:
Name of Party: PLAINTIFF: Hahn, Cecile                           Do you anticipate adding any parties (arising out of same
Name of Defendant's Primary Insurance Company                    transaction or occurrence)? NO
(if known): Unknown



     -
         THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
             -
                  -   CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have àcurrent, past, or recurrent relationship? YES
 If yes, is that relationship: Employer/Employee
 Does the statute governing this case provide for payment of fees by the losing party? YES

 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:



 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:



 Will an interpreter be needed? NO
         If yes, for what language:




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 02/28/2018                                                                                     /s/ PAUL R. CASTRONOVO
 Dated                                                                                                            Signed
     Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 14 of 23 PageID: 14
BERGEN COUNTY. COURTHOUSE
SUPERIOR COURT LAW DIV
BERGEN COUNTY JUSTICE CTR RM 415
HACKENSACK       NJ 07601-7680
                                            TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (201) 527-2600
COURT HOURS 8:30 AM   -4:30 PM

                            DATE:   FEBRUARY 28, 2018
                            RE:     HAHN CECILE VS THE REALREAL, INC.
                            DOCKET: BER L -001536 18

     THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 3.

     DISCOVERY      450 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

     THE PRETRIAL JUDGE ASSIGNED IS: HON JOHN D. ODWYER

      IF YOU HAVE ANY QUESTIONS, CONTACT TEAM        002
AT: (201.) 527-2606.
      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: PAUL R. CASTRONOVO
                                             CASTRONOVO & MCKINNEY,LLC
                                                71 MAPLE AVE
                                              MORRISTOWN       NJ 07960

ECOURTS
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 15 of 23 PageID: 15



Paul Castronovo (Attorney ID #015651999)
CASTRONOVO & McKINNEY, LLC
71. Maple Avenue
Morristown, NJ 07960
(973) 920-7888
Attorneys for Plaintiff
Cecile Hahn

                                                SUPERIOR COURT OF NEW JERSEY
 CECILE HAHN,                                   LAW DIVISION BERGEN COUNTY
                                                               -




                                  Plaintiff,    DOCKET NO: BER-L-1536-18

                        V.                                      Civil Action

 THE REALREAL, INC. and JULIE                    INTERROGATORIES TO DEFENDANTS
 WAINWRIGHT,

                                  Defendants.

COUNSEL:

        Plaintiff, through her attorneys, Castronovo & McKinney, LLC, requests Defendants to

respond to the following Interrogatories served under R. 4:17. These Interrogatories place

Defendants on additional notice to preserve all documents and electronically-stored information

that relate, to these Interrogatories.

                                                   CASTRONOVO & McKINNEY, LLC



Dated: February 28, 2018                           By:
                                                          Paul Castronovo
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 16 of 23 PageID: 16




                                       INTERROGATORIES

        Identify each person with knowledge of any facts relevant to the allegations in the
Complaint and/or any denials or defenses that may be asserted by Defendants; describe in full
detail all of the facts about which each person has knowledge.

RESPONSE

       Identify the name, address, title, qualifications, publications in the last ten years, and terms
of compensation of each expert whom Defendants intend to call to testify or expects to testify.
Attach all final and draft reports of each expert.

RESPONSE

       Identify each individual responsible for supervising Plaintiff during her employment by
Defendant The, RealReal, Inc. As to each such person, identify the time period for which he/she
served as Plaintiff's supervisor.

RESPONSE

       Identify all persons who made the decision, were consulted about, or were involved in any
way in the, decision to terminate Plaintiffs employment by Defendant The RealReal, Inc.

RESPONSE

       Does Defendant The RealReal, Inc. assert that a litigation control group exists in this
matter? If so,. please identify all individuals in that group and explain their relationship with
Defendant The RealReal, Inc.

RESPONSE

   .   Please describe in detail Plaintiff's employment by Defendant The RealReal, Inc,
including:., '




                     positions and/or job titles held by Plaintiff;

                     the dates each position and/or job title was held;

                     'the compensation and benefits Plaintiff received for each such position and/or
                      job title;

                     a description of all job duties Plaintiff was expected to perform in such
                     positions and/or job titles;

                 'e) Plaintiffs performance each year;

                 0   Reason(s) for termination of employment.
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 17 of 23 PageID: 17



RESPONSE

       Please state whether the defense or liability of any allegation of the Complaint is subject to
insurance. coverage. If yes, please attach a copy of such policy/policies.

RESPONSE

        Please provide all facts that allegedly support Defendants' denials in Defendants' Answer
to Plaintiff's Complaint. If any documents or things exist regarding these denials, please attach a
copy o1 each document, electronically stored information, and/or thing.

RESPONSE

        Please provide all facts that allegedly support Defendants' affirmative defenses in
Defendants' Answer to Plaintiff's Complaint. If any documents or things exist regarding these
affirmative defenses, please attach a copy of each document, electronically stored information,
and/or thing.

RESPONSE

        Set forth with specificity, and in detail, by fact and not by conclusion, without reference to
the pleadings, every fact, reason or inference upon which each of the Defendants rely in denying
liability on the claims raised in Plaintiff's Complaint. Please set forth your answer in separate
paragraphs that correspond to Plaintiff's Complaint. If there are any documents, electronically
stored information, and/or things that you claim support any denial, attach a copy of each
document, electronically stored information, and/or thing.

RESPONSE

        Did Defendants or anyone on Defendants' behalf rely on any documents, electronically
stored information, and/or things to provide responses to these interrogatories? If so, please attach
a copy of each document, electronically stored information, and/or thing.

RESPONSE
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 18 of 23 PageID: 18



                                       CERTIFICATION

       These answers are based upon my personal knowledge as well as information supplied by

documents and other people. I certify that the foregoing answers to these Interrogatories are true to

the best of my knowledge, information and belief. I have appended all documents requested. If any

response changes or requires additional information after today, I will promptly supply supplemental

responses.

       I am aware that if any of the foregoing statements made by me are willfully false, I am

subject to-punishment.



DATED:.:
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 19 of 23 PageID: 19



Paul Castronovó (Attorney ID # 015651999)
CASTRONOVO & McKINNEY, LLC
71 Maple Avenue
Morristown, NJ 07960
(973) 920-7888
Attorneys, for Plaintiff
Cecile Hahn

                                               SUPERIOR COURT OF NEW JERSEY
 CECILE HAHN,                                  LAW DIVISION BERGEN COUNTY
                                                                -




                                 Plaintiff,    DOCKET NO: BER-L-1536-18

                       LIA                                       Civil Action

 THE REALREAL, INC. and JULIE                  NOTICE TO PRODUCE DOCUMENTS AND
 WAINWRIGHT,.                                        THINGS TO DEFENDANTS

                                 Defendants.

COUNSEL:

    •   Plaintiff, through her attorneys, Castronovo & McKinney, LLC, requests Defendants to

respond to the following Notice to Produce under R. 4:18. This Notice places Defendants on

additional notice to preserve all documents, computer files, electronic information, and digital

materials that relate to this Notice.

                                                   CASTRONOVO & McKINNEY, LLC


                                                            R-e C*011~
Dated: February 28, 2018                           By:
                                                           Paul Castronovo
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 20 of 23 PageID: 20



                   NOTICE TO PRODUCE DOCUMENTS AND THINGS

                 Any and all electronically-stored information maintained by Defendants, including
current files, historical files, archival files, back-up files, and legacy computer files, whether in
current or, historic media or formats, which may relate to any and all claims and defenses.

               All documents and/or things (both of which are defined throughout this Notice to
Produce as paper, electronically-stored information, notes, correspondence, memoranda,
statements, journals, diaries, audio recordings, video recordings, letters, email, and/or other
material containing information, in whatever form/media) mentioned, used, and/or related to
Defendants' interrogatory answers.

               All documents and/or things referring in any way to Plaintiff, including, but not
limited to, Plaintiff's employment, Plaintiff's allegations set forth in the Complaint, and/or
Defendants' defenses.

             All documents and/or things contained in the personnel files of Plaintiff and all
             .


other employees working under the same supervisor(s) as Plaintiff, including but not limited to
Brianna Egorow.

               All documents and/or things that relate or refer to the allegations contained in
Plaintiff s.Complaint and/or the defenses contained in Defendants' Answer, including but not
limited to, Plaintiff's termination of employment and Defendants' alleged reduction-in-
force/elimination of Plaintiff's position with Defendant The RealReal, Inc.

                All documents or things reflecting any internal communications regarding Plaintiff
and/or the allegations and subject matter of the Complaint and/or all defenses by Defendants.

                 All documents and/or things which evidence, record, or memorialize any
communications by or to Defendants (or any of Defendants' agents), and/or Plaintiff at any time
that relate to any claim or allegation included in Plaintiff's Complaint and/or Defendants' defenses.

       8.'    Copies of all employee handbooks, manuals, policies, and/or procedures distributed
by Defendants to Plaintiff.

        9.      All correspondence between and/or among Defendants and/or Defendants' agents
relating to Plaintiff.

 ..
       •10.    Aildocuments and/or things obtained from individuals, or based on statements
from individuals, concerning the facts or circumstances that constitute the basis of Plaintiff's
claims as they are stated in Plaintiff's Complaint, including any and all documents which might
support or refute the allegations contained in Plaintiff's Complaint.

        1 1•.   All documents and/or things relating to Plaintiff's performance for Defendants and
the performance of any other employees in comparable positions as Plaintiff, including, but not
limited to, any and all charts or spreadsheets regarding performance, the performance reviews, and
personnel files for any employees in comparable positions, including but not limited to Brianna
Egorow.
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 21 of 23 PageID: 21



        12.    All documents and/or things relating to Plaintiff's allegations containing any
interview of or any notes from discussions with witnesses or potential witnesses that were taken
by Defendants or any other.person on any Defendants' behalf.

       .13... All documents and/or things relating to Defendants' payment of Plaintiff for work
performed, including but not limited to all pay stubs and/or performance appraisals.

       14.    All documents and/or things which Defendants intend to submit to the court on
motion and/or at trial and/or use during depositions for this lawsuit.

       15:    All documents and/or things reflecting Defendants' financial condition since
January 1; 2016, in'cluding any tax returns (with schedules), profit & loss statements, net income
statements, cash flow statements, balance sheets, and tax returns. Include both audited and
unaudited documents.

              All oral and/or written statements regarding the subject matter of this litigation.

                Any and all electronically-stored information in the custody, possession, and/or
control of Defendants and any other employee/agent of Defendants, including current files,
historical files, archival files, back-up files, and legacy computer files, whether in current or
historic media or formats, which may relate to any document and/or thing sought in the preceding
sixteen requests.
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 22 of 23 PageID: 22



                           CERTIFICATION OF COMPLETENESS

         I hereby certify that I have reviewed the document production request and that I have made

or caused to be made a good faith search for documents responsive to the request. I further certify

that as of this date, to the best of my knowledge and information, the production is complete and

accurate based.on my personal knowledge and/or information provided by others. I acknowledge

my continuing obligation to make a good faith effort to identify additional documents that are

responsive to the request and to promptly serve a supplemental written response and production of

such documents, as appropriate, as I become aware of them.



Dated:
Case 2:18-cv-05030-KM-MAH Document 1 Filed 03/30/18 Page 23 of 23 PageID: 23



 Paul Castronovo (Attorney ID # 015651999)
.CASTRONOVO & McKINNEY, LLC
 71 Maple Avenue
Morristown, NJ 07960
(973) 920-7888
 Attorneys for Plaintiff
 Cecile Hahn

                                                  SUPERIOR COURT OF NEW JERSEY
 CECILE HAHN,                                     LAW DIVISION BERGEN COUNTY
                                                                     -




                                 Plaintiff,       DOCKET NO: BER-L-1536-18

                       V.                                              Civil Action

 THE REALREAL, INC. and JULIE                        NOTICE TO TAKE ORAL DEPOSITION
 WAINWRIGHT,

                                 Defendants.

COUNSEL:

       PLEASE TAKE NOTICE that in accordance with R. 4:14 of the New Jersey Court Rules,

the witnesses identified below shall appear at Castronovo & McKinney, LLC, 71 Maple Avenue,

Morristown, New Jersey to give testimony by deposition upon oral examination by Plaintiff with

respect toáll matters relevant to the subject matter of this action before an officer duly authorized to

administer oaths beginning on the dates and times identified below and continue day to day thereafter

until completed:

       'Beth Taska on May 7, 2018 at 10:00 AM;

       Julie Wainwright on May 8, 2018 at 9:00 AM;

       Briana Egorow on May 8, 2018 at 3:00 PM;

                                                       CASTRONOVO & McKINNEY, LLC


                                                                 R-e C*----~
Dated: February 28, 2018
                                                               Paul Castronovo
